UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


BENCHMARK INVESTMENTS, INC.

                    Plaintiff,
                                      No. 1:21-cv-02279-JPC-OTW
          v.

YUNHONG CTI LTD.,

                    Defendant.




  BENCHMARK INVESTMENTS, INC.’S MEMORANDUM IN SUPPORT OF
        MOTION TO DISMISS AMENDED COUNTERCLAIMS




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      Pursuant to Federal Rule of Civil Procedure 12(b)(6), Plaintiff–Counterclaim

Defendant Benchmark Investments, Inc. (“Benchmark”) respectfully submits this

memorandum of law in support of its Rule 12(b)(6) “Motion” to dismiss, with prejudice,

the Amended Counterclaims filed by Defendant–Counterclaim Plaintiff Yunhong CTI

Ltd. (“Yunhong” or the “Company” and with Plaintiff, the “Parties”). See Dkt. 30, First

Amended Answer to Complaint, Affirmative Defenses, and Counterclaims (Aug. 31,

2021) (the “Counterclaim” or “Am. Countercl.”).

                            PRELIMINARY STATEMENT

      In June 2020, the Parties executed a Placement Agreement in which Yunhong

agreed that Benchmark would act as its “exclusive placement agent” for one year. See

Dkt. 1-1, Placement Agreement dated June 11, 2020 at 1, § B, Dkt. 1-1 (Mar. 26, 2021)

(“Placement Agreement”). By January 2021, Yunhong had offered securities at least

twice without involving Benchmark at all; accordingly, Benchmark sued Yunhong for

breach of contract and declaratory relief in March 2021. See generally Dkt. 1, Complaint

(Mar. 16, 2021) (“Compl.” or the “Complaint”).

      Yunhong responded by counterclaiming for fraudulent inducement, negligent

misrepresentation, breach of contract, breach of the covenant of good faith and fair

dealing, and unjust enrichment. See generally Dkt. 19, Counterclaim (June 25, 2021) (the

“Original Counterclaim”). Yunhong concedes that it never consummated a securities

offering with Benchmark, but claims that Benchmark never “provide[d] any viable

purchasers for [Yunhong’s] securities or provide any suitable investors.” Am. Countercl.

¶ 20. After Benchmark filed a pre-motion letter explaining the propriety of dismissing


                                           1
the Original Counterclaim pursuant to Rule 12(c), Yunhong filed the operative Amended

Counterclaim. See Dkt. 23, Letter Motion for Leave to File 12(c) Motion (July 19, 2021);

Dkt. 24, Letter Response to Motion (July 22, 2021).

      Yet the Amended Counterclaim fails to state any claim for the exact same reasons

that its Original Counterclaim failed: (1) Yunhong attempts to hold Benchmark

responsible for the acts of Yunhong’s own “advisor,” Abraham Cinta, without pleading

facts demonstrating how or why Mr. Cinta could have bound Benchmark; (2) the

Placement Agreement’s explicit “best efforts” and “no fiduciary duty” terms preclude

Yunhong’s fraudulent inducement, negligent misrepresentation, breach of contract, and

breach of implied covenant claims; (3) Yunhong fails to allege any material misstatement

or omission, and (4) Yunhong’s failure and inability to allege any damages whatsoever—

indeed, it has never paid Benchmark any money at all—independently bars its unjust

enrichment, fraudulent inducement, and negligent misrepresentation claims. See Am.

Countercl. ¶¶ 41-60, 70–83. The Amended Counterclaim’s new fiduciary duty claim

likewise fails due to the nonexistence of a fiduciary duty or damages. See id. ¶¶ 65–69.

      For the reasons set forth herein, the Court should dismiss the Amended

Counterclaim with prejudice.




                                            2
                                        BACKGROUND

      I.      Benchmark Sued Yunhong for Breaching the Parties’ “Exclusive” Placement
              Agreement

           Benchmark is a New York City-based financial services company that provides

placement and underwriting services to securities issuers. See generally Placement

Agreement; see also Am. Countercl. ¶ 13. Kingswood Capital Markets (“Kingswood”) is

a division of Benchmark and worked with Defendant Yunhong. Am. Countercl. ¶¶ 13–

15.

           On June 12, 2020, Benchmark and Yunhong executed the one-year Placement

Agreement, in which Benchmark agreed that it would use “reasonable best efforts” to

offer and place Yunhong’s securities for one year:

           This letter[] constitutes the Agreement between Yunhong [ . . . ] and
           Benchmark [ . . . ] that Kingswood shall serve as the exclusive placement
           agent (the “Services”) for the Company, on a reasonable best efforts basis,
           in connection with the proposed offer and placement (the “Offering”) [ . . .
           ] The Company expressly acknowledges and agrees that the execution of
           this Agreement does not constitute a commitment by Kingswood to
           purchase the Securities and does not ensure the successful placement of
           the Securities or any portion thereof or the success of Kingswood with
           respect to securing any other financing on behalf of the Company. [ . . . ]

           The term (the “Term”) of Kingswood’s engagement for the Offering will
           begin on the date hereof and end on the one-year anniversary of the date of
           this Agreement.

Placement Agreement at 1 (emphasis added); id. § 3(B) (term). In exchange for

Benchmark’s services, Yunhong agreed to pay “a cash placement fee (the “Placement

Agent’s Closing Fee”) equal to seven percent (7%) of the aggregate purchase price paid

by each purchaser (the “Purchaser” or “Purchasers”) of Securities,” as well as “warrants



                                                3
equal to 5% of the aggregate number of shares of common stock placed in each Offering.”

Id. §§ A(1), (2). Yunhong also agreed that Kingwood’s duties to the Company were

limited and contractual:

      Limitation of Engagement to the Company. The Company acknowledges
      that [ . . . ] Kingswood is providing services hereunder as an independent
      contractor (and not in any fiduciary or agency capacity) [ . . . ] Kingswood
      shall not have the authority to make any commitment binding on the
      Company.”

Id. § G (emphasis added).

      While Benchmark arranged for multiple potential financings for Yunhong, the

Company rejected all of them. Compl. ¶¶ 5–6; accord Am. Countercl. ¶¶ 20, 25–34.

      At least twice during the Placement Agreement’s one-year term, Yunhong

bypassed Benchmark to issue securities, selling $3 million of convertible stock to non-

parties Shuai Wang (the “November 2020 Offering”) and LF International Pte. Ltd.

(“LF”) (the “January 2021 Offering”). Id. ¶¶ 7, 8, 12.

      Because Yunhong solicited, negotiated, and completed both the November 2020

and January 2021 Offerings away from Benchmark and during the Placement

Agreement’s one-year term, Benchmark sued for breach of contract. See generally Compl.

Yunhong’s circumvention cost Benchmark no less than $210,000 in commissions, plus

warrants for 150,000 shares of Yunhong common stock at an exercise price of $0.01. See

Placement Agreement ¶¶ A.1 and A.2.




                                            4
   II.      Yunhong’s Counterclaim Blames Non-Party Abraham Cinta for the
            Breakdown Between the Parties

         Instead of analyzing the Placement Agreement’s duties and Benchmark’s own acts

or omissions, the Counterclaim argues that Benchmark should be held responsible for the

supposedly-wrongful conduct of Yunhong’s own “financial advisor,” Abraham Cinta.

See generally Am. Countercl.

         Yunhong alleges that in “late 2019,” it met non-party Yubao Li, who, “through his

investment advisors, Abraham Cinta and [Jesús] Hoyos” invested in Yunhong on or

about January 3, 2020; it does not explain what “through his investment advisors” means.

Id. ¶¶ 10–11. “[A]s part of that investment, CTI was renamed [Yunhong] CTI [and] Mr.

Li was named Chairman of the Board.” Id. ¶ 11; accord Press Release, CTI Industries

Announces Corporate Name Change to Yunhong CTI Ltd. (Mar. 16, 2020) (“Press

Release”).

         Yunhong claims that after Mr. Li invested in Yunhong, “Mr. Cinta informed

[Yunhong] that he and Mr. Li had previously worked with [Benchmark] and believed

that [Benchmark] could identify and secure investors interested in purchasing [Yunhong]

securities.” Id. ¶ 13. Yunhong alleges that “Mr. Hoyos and Mr. Cinta began negotiating

terms on which Kingswood would identify and secure such purchasers,” and eventually

sent Yunhong the draft Placement Agreement, which, on Messrs. Hoyos’s and Cinta’s

“urging,” the Company executed. Id. ¶¶ 13, 15, 17.

         Yunhong also alleges that within a month of executing the Placement Agreement,

it considered, but ultimately declined to terminate the Contract in order to accept a $3



                                             5
million investment from a third party. Id. ¶¶ 21–26. In other words, Yunhong explicitly

pleads that as early as July 2020, it understood that circumventing Benchmark would

breach the Placement Agreement. Id.

       But sometime after July 23, 2020, claims Yunhong, Mr. Cinta “disclosed to Mr.

Cesario that Mr. Cinta was also an owner of Kingswood.” Id. ¶ 35. Yunhong claims that

“Mr. Cinta’s [alleged] conflict of interest was not disclosed at the time of the execution of

the purported Placement Agreement, and still has not been formally disclosed, by

Kingswood or Benchmark to [Yunhong].” Id. ¶ 38. Yunhong concludes that “Mr. Cinta’s

failure to disclose this conflict of interest was a material misrepresentation and / or

omission of material fact,” and sues his alleged company, Arc Capital, for breach of

fiduciary duty. Id. ¶¶ 61–64; see also id. ¶ 11 (alleging that Mr. Cinta was “on the

management team of Arc Capital”).

       While the 83-paragraph Amended Counterclaim pleads dozens of facts regarding

Mr. Cinta’s alleged misdeeds, it pleads far fewer regarding Benchmark’s own conduct:

       1. “At no time did [Benchmark] provide any viable purchasers for
          [Yunhong’s] securities or provide any suitable investors for
          [Yunhong],” id. ¶ 20; accord id. ¶¶ 74, 78;
       2. Between July 2 and 16, 2020, Benchmark “encouraged an S-1 offering,”
          id. ¶ 25; accord ¶ 79;
       3. On July 23, 2020, Benchmark executed a second “purported agreement”
          with Yunhong that was not “definitive” with Yunhong, id. ¶¶ 28, 34;
       4. Benchmark did not tell Yunhong that Mr. Cinta was “an owner,” id. ¶
          37; accord id. ¶¶ 50, 57;
       5. Benchmark “knew that Mr. Cinta could not negotiate on behalf of
          [Yunhong] with impartiality,” id. ¶ 56;
       6. But “[a]t all relevant times, Benchmark knew that Mr. Cinta was an
          owner and / or agent of [Benchmark] and there existed a material
          conflict of interest in him negotiating any agreement on behalf of



                                             6
          [Yunhong] whereby [Benchmark] would act on [Yunhong’s] behalf in
          good faith,” id. ¶¶ 46, 56; and
       7. Benchmark “represent[ed] that [it was] acting in good faith and did not
          have a conflict of interest in engaging with [Yunhong],” id. ¶¶ 50, 59;
          accord id. ¶ 74.

       Yunhong does not identify any money or other value it has provided to

Benchmark, nor does it plead any other facts illustrating the damage that Benchmark

supposedly inflicted upon the Company. See generally Countercl.

       Yunhong also fails to substantiate its accusation that Mr. Cinta was Benchmark’s

“owner” or “agent,” besides claiming that he “disclosed to Mr. Cesario that Mr. Cinta

was also an owner of Kingswood.” See id. ¶ 35. Indeed, Yunhong explicitly pleads that

Mr. Cinta advised Yunhong “on behalf of Mr. Li.” See id. ¶¶ 11–12 (emphasis added).

       Yet Yunhong concludes that “Mr. Cinta’s, and thus [Benchmark’s],” alleged

misdeeds caused it harm, and accordingly brings six claims against Benchmark:

fraudulent inducement, negligent misrepresentation, breach of fiduciary duty, breach of

contract, breach of the covenant of good faith and fair dealing, and unjust enrichment. Id.

¶¶ 41–60, 53 (emphasis added), 65–83.




                                            7
   III.      At All Relevant Times, Mr. Cinta’s Client Owned and Controlled Yunhong

          The Counterclaim neglects to mention that Mr. Li’s January 2020 “investment”

was his purchase of approximately 59.6% of the Company. See Schedule 13D (Apr. 13,

2020). In purchasing majority control of Yunhong, Mr. Li not only renamed the Company,

but also gained the right to and did name three directors to the board: himself, Wan

Zhang, and Yaping Zhang, and soon after became Board Chair. Form 10-K, Yunhong CTI

Ltd. Annual report for year ending December 31, 2020 at F-16 (Apr. 16, 2021) (“2020 10-

K”); accord Lf International Pte. Ltd., Form SC 13D/A [Amended] – General statement

of acquisition of Beneficial ownership (June 5, 2020); Press Release, Yunhong CTI Ltd.,

Yunhong CTI Ltd. Announces Changes to Board of Directors (June 10, 2020).

          Moreover, while the Counterclaim mostly edited out the Original’s allegations

regarding Frank Cesario, Yunhong’s own SEC filings state that Mr. Cesario resigned from

his position as the Company’s Chief Financial Officer in June 2020, and from President

and CEO in September 2020. 2020 10-K at 15. Those filings further provide that since Mr.

Cesario’s resignation, Mr. Li has been the Company’s President and CEO. Id. at 14;

compare also Countercl. and Am. Countercl.

          In other words, at the time that the Parties negotiated and executed the Placement

Agreement, Mr. Li was not just another minority investor: he owned and controlled the

Company as its majority shareholder and Board Chair. During the November 2020 and

January 2021 Offerings—and when Yunhong filed both its original and instant

Counterclaims—Mr. Li was not only its majority owner and Board Chair, but also its

President and CEO.


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                                  LEGAL STANDARD

       Rule 12(b)(6) requires dismissal of any counterclaim supported only with “[n]aked

assertions” of illegal activity, “devoid of further factual enhancement.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

“This principle applies with even greater force” where Rule 9(b) governs, including with

both fraudulent inducement and negligent misrepresentation claims. Amusement Indus.,

Inc. v. Stern, 768 F. Supp. 2d 758, 770 (S.D.N.Y. 2011) (Kaplan, J.) (quoting First

Nationwide Bank, 27 F.3d at 771; Icebox-Scoops, Inc. v. Finanz St. Honoré, B.V., 676 F.

Supp. 2d 100, 110 (E.D.N.Y. 2009) (Gershon, J.). To decide this Motion, the Court may

consider any documents incorporated by reference or integral to the pleadings, and “any

matter of which the Court can take judicial notice for the factual background of the case,”

including Securities and Exchange Commission (“SEC”) filings. L-7 Designs, Inc. v. Old

Navy, LLC, 647 F.3d 419, 422 (2d Cir. 2011); Chambers v. Time Warner, Inc., 282 F.3d 147,

153 (2d Cir. 2002).




                                             9
                                      ARGUMENT

      Yunhong fails to allege the vast majority of the elements necessary to state any of

its counterclaims. See generally Am. Countercl. Because Yunhong’s “unadorned, the-

defendant-unlawfully-harmed-me        accusation[s]”   cannot   “unlock   the   doors   of

discovery,” the Court should dismiss the Counterclaim with prejudice. See Iqbal, 556 U.S.

at 678–79 (“Rule 8 marks a notable and generous departure from the hypertechnical,

code-pleading regime of a prior era, but it does not unlock the doors of discovery for a

plaintiff armed with nothing more than conclusions.”).

      I. Benchmark’s Alleged Failure to Deliver Appropriate Investors Did Not
         Breach the Placement Agreement

      Yunhong’s breach-of-contract claim alleges neither its own performance nor

damages nor Benchmark’s breach. See, e.g., Harsco Corp. v. Segui, 91 F.3d 337, 348 (2d

Cir. 1996) (elements are existence of enforceable contract, plaintiff’s performance,

defendant’s breach, and damages). Yunhong claims:

      [Benchmark] breached its obligations under the purported Placement
      Agreement by, among other things, failing to make ‘reasonable best
      effort[s]’ to place [Yunhong] securities and secure other financing on behalf
      of [Yunhong]. Among other things, Kingwood failed to introduce any
      meaningful investors to [Yunhong] and failed to disclose its blatant conflict
      of interest.

Am. Countercl. ¶¶ 73–74. The Counterclaim does not specify what any of the “other

things” are, let alone what provisions of the Placement Agreement that those “other

things” breached. See generally id.




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              A. Yunhong Does Not Plead Its Own Contractual Performance

       “A claimant’s failure to plead the performance of its own contractual obligations

is fatal to a breach of contract claim even if the other requisite elements are properly

pleaded.” Comfort Inn Oceanside v. Hertz Corp., No. 11-cv-1534 (JG) (JMA), 2011 WL

5238658, at *3 (E.D.N.Y. Nov. 1, 2011) (Gleeson, J.) (collecting cases). Yet Yunhong does

not allege a single duty of its own under the Placement Agreement, let alone its

performance thereof. Compare generally Countercl. and Placement Agreement

(imposing duties on Yunhong, including one-year exclusivity term, indemnity, duties to

pay expenses and provide information, and transaction-based fees).

       Because Yunhong “does not expressly allege, even in conclusory fashion,” its own

Placement Agreement performance, the Court must dismiss its contract claim. See

Comfort Inn, 2011 WL 5238658, at *4 (citing Global Crossing Bandwidth, Inc. v. PNG

Telecomms., Inc., No. 06 Civ. 6415T, 2007 WL 174094, at *2 (W.D.N.Y. Jan. 22, 2007)

(Telesca, J.)); accord Global Crossing, 2007 WL 174094, at *2 (“While a plaintiff’s failure

to plead its own performance may be a technical defect, it is nonetheless a defect, and

accordingly defendant’s motion to dismiss this cause of action is granted.”).




                                            11
              B. Yunhong Does Not Plead Bad Faith Conduct that Could Breach the
                 “Best Efforts” Clause

       Yunhong also does not plead facts showing that Benchmark “fail[ed] to make

‘reasonable best efforts’ to place [Yunhong] securities and secure other financing” See

Am. Countercl. ¶¶ 20, 74.

       “A ‘best efforts’ clause imposes an obligation to act with good faith in light of one’s

capabilities.” Soroof Trading Dev. Co. v. GE Fuel Cell Sys., LLC, 842 F. Supp. 2d 502, 511

(S.D.N.Y. 2012) (Swain, J.) (quoting Monex Fin. Serv. Ltd. v. Nova Info. Sys., Inc., 657 F.

Supp. 2d 447, 454 (S.D.N.Y. 2009) (Pauley, J.)); accord Cruz v. FXDirectDealer, LLC, 720

F.3d 115, 124 (2d Cir. 2013) (same). But “[e]ven in the face of a best efforts clause,” a party

may “give reasonable consideration to its own interests in determining an appropriate

course of action to reach the desired result.” In re Chateaugay Corp., 198 B.R. 848, 854

(Bankr. S.D.N.Y. 1996) (Keenan, J.), aff’d, 108 F.3d 1369 (2d Cir. 1997) (citations omitted)

(a party may “exercise discretion, within its good faith business judgment, in devising a

strategy for achieving its ultimate goal.”).

       For example, Soroof’s defendant–counterclaim plaintiff sued under a contractual

clause that required plaintiff–counterclaim defendant GEFCS to use its “best efforts to

sell advertise and promote” fuel cells in Saudi Arabia and satisfy any “firm purchase

orders.” 842 F. Supp. 2d at 508. Judge Batts rejected Soroof’s argument that the contract

required GEFCS to actually supply a “sufficient quantity” of fuel cells to distribute

throughout Saudi Arabia, noting that “the best efforts clause imposed no obligation to




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provide any cells, much less a quantity sufficient to distribute throughout Saudi Arabia.”

Id. at 511 (emphasis in original).

         As in Soroof, here, Yunhong identifies two specific undesirable outcomes—

Benchmark’s “fail[ure] to introduce any meaningful investors” and “pursu[it of] an S-1

offering”—to argue that Benchmark breached the “best efforts” clause. See Countercl. ¶

36. But without more, neither allegation suggests that Benchmark failed to use

“reasonable means” to place Yunhong’s securities, let alone that Benchmark failed to use

its “good faith business judgment [to] devis[e] a strategy for achieving its ultimate goal.”

See Chateaugay, 198 B.R. at 854.

   II.        Yunhong’s Implied Covenant Theory Duplicates Its Contract Claim

         New York “does not recognize a separate cause of action for breach of the implied

covenant of good faith and fair dealing when a breach of contract claim, based upon the

same facts, is also pled.” Harris v. Provident Life and Acc. Ins. Co., 310 F.3d 73, 81 (2d

Cir. 2002).

         Yunhong’s implied covenant claim violates this hornbook law, relying on the exact

same “fact” that allegedly breaches the Placement Agreement’s explicit terms: that

Benchmark “fail[ed] to make ‘reasonable best efforts’ to place [Yunhong] securities and

secure other financing on behalf of [Yunhong].” See Am. Countercl. ¶ 78; compare also

id. ¶ 80 (alleging that Benchmark breached the implied covenant because “it did not make

‘reasonable best effort[s]’ to place [Yunhong] securities and secure other financing on

behalf of [Yunhong]”) and id. ¶ 73 (alleging that Benchmark breached the Placement




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Agreement’s explicit terms by “failing to make ‘reasonable best effort[s] to place

[Yunhong] securities and secure other financing on behalf of [Yunhong].”).

          The Court should dismiss Yunhong’s implied covenant claim. See, e.g.,

Washington v. Kellwood Co., No. 05 Civ. 10034 (DAB), 2009 WL 855652, at *6 (S.D.N.Y.

Mar. 24, 2009) (Batts, J.) (dismissing implied covenant claim that “merely stated[,]

‘Defendant’s breach of the terms of each agreement referenced above and its refusal to

use its best efforts, or even reasonable efforts, to generate profits for Plaintiffs’ products

is a breach of the covenant of good faith and fair dealing.’”) (alterations omitted).

   III.      Benchmark, a Mere Placement Agent, had No Fiduciary Duty to Yunhong

          Yunhong also fails to plead the existence of a fiduciary duty, let alone resulting

damages from its alleged breach. See Spinelli v. Nat’l Football League, 903 F.3d 185, 207

(2d Cir. 2018) (citing Johnson v. Nextel Commc’ns, Inc., 660 F.3d 131, 138 (2d Cir. 2011))

(elements are existence of fiduciary duty, knowing breach, and damages).

          Because the Placement Agreement “clearly and unambiguously disclaims a

fiduciary relationship,” the Court should dismiss this counterclaim. See Asian Vegetable

Research & Dev. Ctr. v. Inst. of Int’l Educ., 944 F. Supp. 1169, 1178 (S.D.N.Y. 1996) (Sweet,

J.) (holding that no fiduciary relationship existed where agreement “clearly and

unambiguously disclaim[ed] a fiduciary relationship.”). The Placement Agreement

explicitly disclaims any such relationship:

          Limitation of Engagement to the Company. The Company acknowledges
          that [ . . . ] Kingswood is providing services hereunder as an independent
          contractor (and not in any fiduciary or agency capacity) [ . . . ] Kingswood
          shall not have the authority to make any commitment binding on the
          Company.”


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Placement Agreement § G (emphasis added).

       New York courts consistently hold that fiduciary duty disclaimers like this one

“preclude the finding of a fiduciary or other special relationship, absent special

circumstances.” BNP Paribas Mortg. Corp. v. Bank of Am., N.A., 866 F. Supp. 2d 257, 259

(S.D.N.Y. 2012) (Sweet, J.) (citing Cooper v. Parsky, 140 F.3d 433, 439 (2d Cir. 1998);

Seippel v. Jenkins & Gilchrist, P.C., 341 F. Supp. 2d 363, 381–82 (S.D.N.Y. 2004)

(Scheindlin, J.)).

       This is equally true where plaintiffs claim that placement agents like Benchmark

owe them fiduciary duties. See, e.g., BNP Paribas, 866 F. Supp. 2d at 270–71 (rejecting

argument that broker–dealer defendants each owed a fiduciary duty “by virtue of its role

as a broker and dealer of securities, and as a note dealer and placement agent”) (citation

omitted); accord Indep. Order of Foresters v. Donald, Lufkin & Jenrette, Inc., 157 F.3d

933, 940 (2d Cir. 1998) (“There is no general fiduciary duty inherent in an ordinary broker

/ customer relationship.”); Moss v. Morgan Stanley Inc., 719 F.2d 5, 15 (2d Cir. 1983)

(holding that for 10b-5 purposes, no fiduciary duty exists for broker–dealers just because

they are market professionals); Bissell v. Merrill Lynch & Co., Inc., 937 F. Supp. 237, 246

(S.D.N.Y. 1996) (Schwartz, J.), aff’d, 157 F.3d 138 (2d Cir. 1998) (“Under New York law,

the mere existence of a broker–customer relationship is not proof of its fiduciary

character.”).

       And even if Yunhong had alleged the existence of a fiduciary duty—which it has

not—because it rests upon the exact same alleged wrongs and damages underlying



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Yunhong’s contract claim, the fiduciary duty claim cannot stand. See Kavitz v. Int’l Bus.

Mach. Corp., No. 09-Civ-5710, 2010 WL 11507447, at *10 (S.D.N.Y. Aug. 27, 2010)

(McMahon, J.), aff’d, 458 F. App’x 18 (2d Cir. 2012) (“Plaintiff’s breach of fiduciary duty

claim is nothing more than a breach of contract claim in other clothing. Therefore, it

fails.”).

    IV.      Yunhong Fails to Allege Any Element of Its Fraudulent Inducement and
             Negligent Misrepresentation Claims

          Yunhong does not allege that Benchmark or any of its officers, directors,

executives, or other employees made any misrepresentations to Yunhong. See generally

Countercl. Instead, Yunhong pleads that Mr. Cinta acted as a double agent of sorts,

purporting to represent Yunhong’s interests while allegedly failing to disclose that he

was an “owner and / or agent” of Benchmark. Am. Countercl. ¶¶ 45–46, 49–50, 56.

Yunhong’s failure to plead facts allowing the Court to hold Benchmark responsible for

Mr. Cinta’s alleged misrepresentations is enough to dismiss both Omission Claims.

          To state plead fraudulent inducement, Yunhong allege (1) a material omission

made by Benchmark (2) that induced Yunhong to sign the Placement Agreement, (3)

scienter, (4) reliance, and (5) injury. Schwartzco Enters. LLC v. TMH Mgmt., LLC, 60

Supp. 3d 331, 344 (E.D.N.Y. 2014) (Spatt, J.) (quoting Davidowitz v. Partridge, No. 08 CV

6962(NRB), 2010 WL 5186803, at *7 (S.D.N.Y. Dec. 7, 2010) (Buchwald, J.)). To plead

negligent misrepresentation, Yunhong must allege that (1) Benchmark “had a duty, as a

result of a special relationship, to give correct information;” (2) Benchmark “made a false

representation that [it] should have known was incorrect;” (3) “the information supplied



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in the representation was known by [Benchmark] to be desired by [Yunhong] for a serious

purpose;” (4) Yunhong “intended to rely and act upon it;” and (5) Yunhong reasonably

relied on that misrepresentation (6) “to [its] detriment.” Hydro Invs., Inc. v. Trafalgar

Power Inc., 227 F.3d 8, 20 (2d Cir. 2000) (citations omitted).

       Because Yunhong’s fraudulent inducement and negligent misrepresentation

claims (together, the “Omission Claims”) are premised on a wrongful omission theory,

the Counterclaim also must satisfy Rule 9(b) by alleging “(1) what the omissions were;

(2) the person responsible for the failure to disclose; (3) the context of the omissions and

the manner in which they misled the plaintiff; and (4) what the defendant obtained

through fraud.” Soroof, 842 F. Supp. 2d at 513 (quoting Manhattan Motorcars, Inc., 244

F.R.D. 204, 213 (S.D.N.Y. 2007) (Scheindlin, J.)).

              A. Yunhong Fails to Allege Any Wrongful Statements or Omissions
                 Made by Benchmark

       To state the obvious, a complaint must plead facts demonstrating each and every

element of each and every claim alleged against any given defendant. Cf., e.g., Ochre LLC

v. Rockwell Architecture Plan. & Design, P.C., No. 12 Civ. 2837 KBF, 2012 WL 6082387,

at *6–7 (S.D.N.Y. Dec. 3, 2012), aff’d, 530 F. App’x 19 (2d Cir. 2013) (“The failure to isolate

the key allegations against each defendant supports dismissal under the standards set

forth in Twombly and Iqbal.”); Medina v. Bauer, No. 02-CV-8837, 2004 WL 136636, at *6

(S.D.N.Y. Jan. 27, 2004) (Chin, J.) (dismissing complaint that “often refer[red] to the

defendants collectively” but had specific allegation per defendant).




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       Yet Yunhong’s fraudulent inducement and negligent misrepresentation claims

plead no wrongful statements by Benchmark. See generally Am. Countercl. Instead, both

argue that Mr. Cinta—whom Yunhong did not even sue—made misstatements to

Yunhong. See Am. Countercl. ¶ 43 (“Mr. Cinta represented [ . . . ]”); id. ¶ 44 (“Mr. Cinta

negotiated [ . . . ]”); id. ¶ 51 (“Mr. Cinta had a duty to disclose”); id. ¶ 55 (“Mr. Cinta

falsely represented [ . . .]”). Indeed, Yunhong explicitly pleads that it sues Benchmark

only because of Mr. Cinta’s alleged misrepresentations. Id. ¶ 53 (“Mr. Cinta’s, and thus

[Benchmark’s], misrepresentations caused damages to [Yunhong] in an amount to be

determined at trial, and this Court should issue an Order declaring the purported

Placement Agreement void.”).

       But because Yunhong does not explain why Benchmark should be responsible for

Mr. Cinta’s statements, its Omission Claims fail. See New York Wheel Owner LLC v.

Mammoet Holding B.V., 481 F. Supp. 3d 216, 234–36 (S.D.N.Y. 2020) (Furman, J.)

(collecting cases) (“Needless to say, agency principles aside, a fraudulent inducement

claim lies only where the defendant itself made the relevant misrepresentation or

omission.”).

       Yunhong’s vague claim that “[i]n August 2020, Mr. Cinta disclosed to Mr. Cesario

that Mr. Cinta was also an owner of [Benchmark]” falls far short of showing that Mr.

Cinta acted as Benchmark’s agent. Compare id. ¶ 16 and, e.g., Bigio v. Coca-Cola Co., 675

F.3d 163, 175 (2d Cir. 2012) (citing Fletcher v. Atex, Inc., 68 F.3d 1451, 1455, 1461–62 (2d

Cir. 1995)) (“A corporate parent’s ownership interest in a subsidiary, standing alone, is

insufficient to demonstrate the existence of an agency relationship.”); Restatement


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(Third) of Agency § 7.03, comment d(3) (2006) (“Common ownership of multiple entities

does not create relationships of agency among them.”).

       Yunhong pleads no facts suggesting that Benchmark ever exercised control over

Mr. Cinta or authorized him to act on Benchmark’s behalf; it does not allege how much

of Benchmark that Mr. Cinta allegedly owned, let alone that Mr. Cinta held that

ownership interest during the negotiation and execution of the Placement Agreement;

nor does it plead any other facts sufficient to demonstrate an agency relationship between

Mr. Cinta and Benchmark. See, e.g., New York Wheel, 481 F. Supp. 3d at 235 (dismissing

fraudulent inducement claim against certain defendants where plaintiff did not

“plausibly plead that the representations at issue were made by, or on behalf of, [those]

defendants, rather than on behalf of [a separate party] alone”); cf. Hale, 2021 WL 1163925,

at *4 (dismissing complaint that “lack[ed] any facts permitting an inference that

[defendant] exercised any control over [non-party wrongdoer]”).

       That inference would be particularly inappropriate here because Yunhong argues

that Mr. Cinta acted on behalf of at least four separate interests in connection with this

dispute: (1) Third-Party Defendant Arc Capital LLC; (2) non-party, but Yunhong CEO,

Chair, and majority owner Yubao Li; (3) Defendant Yunhong; and (4) Plaintiff

Benchmark. See generally Am. Countercl. Yunhong simply does not plead any facts

suggesting that Mr. Cinta acted on Benchmark’s behalf only when he was behaving

wrongfully.

       The Court should reject Yunhong’s “conclusion[] of law [and] unwarranted

deduction[] of fact” that Mr. Cinta acted as Benchmark’s agent in the Transaction. See


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Amusement Indus., 768 F. Supp. 2d at 760. If Yunhong has any claim here at all, it is not

against Benchmark. Cf. Barron Partners, LP v. LAB123, Inc., 593 F. Supp. 2d 667, 674

(S.D.N.Y. 2009) (Rakoff, J.) (quoting Nat’l Union Fire Ins. Co. v. Worley, 257 A.D.2d 228,

233 (1st Dep’t 1999) (“Fraud by a third party is not effective to vitiate contractual

obligations.”) (emphasis added).

             B. Yunhong Fails to Allege Materiality, Damages, or a “Special
                Relationship”

      Even if it were proper to hold Benchmark responsible for Mr. Cinta’s purported

omissions, Yunhong’s Omission Claims would still fail: the Counterclaim does not even

attempt to plead facts suggesting that Mr. Cinta’s alleged ownership of Benchmark was

relevant, let alone material, to Yunhong’s decision to execute the Placement Agreement.

Compare generally Am. Countercl. and, e.g., State Street Global Advisors Trust Company

v. Visbal, 431 F. Supp. 3d 322, 353 (S.D.N.Y. 2020) (Woods, J.) (quoting United States v.

Weaver, 860 F.3d 90, 94 (2d Cir. 2017)) (inter alia, dismissing fraudulent inducement

claims for lack of materiality and noting that “[a] false statement is material if the

information would naturally tend to lead or is capable of leading a reasonable person to

change his conduct.”) (alterations omitted); Barron Partners, 593 F. Supp. 2d at 673

(holding that omission of principal’s criminal history was immaterial where

counterclaim–plaintiff “entered into the [contract] based on [counterclaim–plaintiff’s]

supposed expertise, and not based on any representations concerning—or understanding

of—[counterclaim–plaintiff’s integrity or character for truthfulness.”); New York Univ. v.

Continental Ins. Co, 87 N.Y.2d 308, 318 (1995) (“At the very threshold” plaintiff must



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allege a material omission on which they relied that induced them to enter into a

contract); 651 Bay Street, LLC v. Discenza, 189 A.D.3d 952, 954 (1st Dep’t 2020) (citation

omitted) (a material fact is one that “serves as an inducement for the contract”); cf.

Crotona 1967 Corp. v. Vidu Bros. Corp., 925 F. Supp. 2d 298, 308 (E.D.N.Y. 2013) (Gold,

M.J.) (“[T]o be considered material, misrepresentations must relate to the terms or

conditions of the loan itself”).

       Yunhong also fails to allege the “out-of-pocket” damages necessary to state these

claims, i.e., its “actual pecuniary loss sustained as the direct result of the wrong.” See

Kortright Capital Partners LP v. Investcorp Investment Advisers Ltd., 392 F. Supp. 3d

382, 398 (S.D.N.Y. 2019) (Pauley, J.) (citations omitted) (“In applying the out-of-pocket

rule, courts have barred recovery for lost profits, loss of customers, and injury to business

reputation for fraud and negligent misrepresentation claims.”); Lama Holding Co. v.

Smith Barney Inc., 88 N.Y.2d 413, 421 (1996) (“actual pecuniary loss”); see also Pasternak

v. Dow Kim, 961 F. Supp. 2d 593, 599 (S.D.N.Y. 2013) (Chin, J.) (“[T]he out-of-pocket rule

applies to both the claim for fraud and the claim for negligent misrepresentation”).

       Finally, Yunhong fails to allege even one of the three scenarios giving rise to

Benchmark’s alleged duty to speak: (1) a fiduciary relationship between Yunhong and

Benchmark, (2) under the “special facts” doctrine, that Benchmark had “superior

knowledge, not readily available to” Yunhong, rendering the transaction “inherently

unfair,” or (3) that Benchmark “has made a partial or ambiguous statement, whose full

meaning [would] only [have been] made clear after complete disclosure.” First Hill

Partners, LLC v. BlueCrest Cap. Mgmt. Ltd., 52 F. Supp. 3d 625, 636–37 (S.D.N.Y. 2014)


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(Sullivan, J.) (citing Aetna Cas. & Surety Co. v. Aniero Concrete Co., 404 F.3d 566, 582 (2d

Cir. 2005); Miele v. Am. Tobacco Co., 2 A.D.3d 799, 803 (2d Dep’t 2003)).

        Because fraudulent inducement and negligent misrepresentation damages “are

calculated to compensate plaintiffs for what they lost because of the fraud, not for what

they might have gained in the absence of fraud,” the Court should dismiss these claims.

See Lama Holding, 88 N.Y.2d at 421 (citation omitted) (dismissing fraud and negligent

misrepresentation claims for, inter alia, failing to plead out-of-pocket damages, noting

that “[d]amages are to be calculated to compensate plaintiffs for what they lost because

of the fraud, not to compensate them for what they might have gained”); Connaughton

v. Chipotle Mexican Grill, Inc., 135 A.D.3d 535, 539 (1st Dep’t 2016), aff’d, 29 N.Y.3d 137

(2017) (holding that “plaintiff’s failure to adequately plead actual damages is fatal to his

cause of action sounding in fraudulent inducement”).

   V.      Yunhong’s Nonexistent Harm Also Precludes Its Unjust Enrichment Claim

        To plead unjust enrichment, Yunhong must allege facts showing that (1)

Benchmark was enriched, at (2) Yunhong’s expense, and (3) “it is against equity and good

conscience to permit [Benchmark] to retain what is sought to be recovered.” Mandarin

Trading Ltd. v. Wildenstein, 16 N.Y.3d 173, 182 (2011) (collecting cases). The “essential

inquiry [ . . . ] is whether it is against equity and good conscience to permit the defendant

to retain what is sought to be recovered.” Mandarin Trading, 16 N.Y.3d at 182 (quoting

Paramount Film Distrib. Corp. v. State of New York, 30 N.Y.2d 415, 421 (1972)).

        As a threshold matter, the existence of a relevant contract between the Parties—

here, the Placement Agreement—“precludes a finding of unjust enrichment.” See Soroof,


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842 F. Supp. 2d at 514 (citing In re First Central Fin. Corp., 377 F.3d 209, 213 (2d Cir. 2004))

(emphasis in original). The inquiry ends there.

       Duplicative nature aside, the unjust enrichment claim also fails because Yunhong

does not allege that it ever paid or otherwise “enriched” Benchmark, let alone to its own

detriment. Compare generally Am. Countercl. and, e.g., Corsello v. Verizon New York,

Inc., 18 N.Y.2d 777, 790 (2012) (“Typical cases are those in which the defendant, though

guilty of no wrongdoing, has received money to which he or she is not entitled.”). Instead,

the Company pleads that Benchmark “was unjustly enriched by fraudulent inducing

[Yunhong] to enter into a contract with [Benchmark] and by paying certain sums to

[Benchmark].” Countercl. ¶ 43.

       Nowhere does Yunhong plead what those “certain sums” might be, when it paid

them, or to whom it paid them. See generally id. Yunhong also does not explain why it

would have paid “certain sums” to Benchmark despite the fact that no payments were

not due unless and until Benchmark actually closed a securities offering for the Company.

See Placement Agreement §§ A(1), (2). This entirely vague and conclusory allegation

cannot support any claim.




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   VI.      The Court Should Dismiss Yunhong’s Futile Counterclaims with Prejudice

         Finally, because the Amended Counterclaim’s problems are substantive and

“would not be cured by better pleading,” the Court should dismiss it with prejudice. See

Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000) (denying request to replead because

it would be futile).

         Benchmark initiated this litigation against Yunhong in March 2021. See Dkt. 1

(Mar. 16, 2021). After receiving three extensions of time to file its answer, Yunhong filed

the Original Counterclaim on June 25, 2021. See Dkt. 16 (June 17, 2021) (letter motion for

extension of time); Dkt. 19, Countercl. (June 25, 2021). Despite having over three months

to consider, draft, and file its response, Yunhong’s five-count Counterclaim was 44

paragraphs long, with no facts supporting its largely-duplicative claims. See generally

supra. After Benchmark requested a pre-Rule 12(c) motion conference, Yunhong filed the

Amended Counterclaim, which failed to fix any of the problems raised in Benchmark’s

pre-motion letter, despite adding 39 more paragraphs. Compare generally Am.

Countercl. and Dkt. 23, Letter Motion for Leave to File 12(c) Motion (July 19, 2021); see

also Dkt. 33, Letter Motion for Leave to File Motion to Dismiss Amended Counterclaim

(Sep. 20, 2021).

         Yunhong’s inability to muster any credible counterclaims is exactly why the Court

should dismiss all of them with prejudice. See, e.g., McCarthy v. Dun & Bradstreet Corp.,

482 F.3d 184, 200 (2d Cir. 2007) (“A district court has discretion to deny leave [to replead]

for good reason, including futility, bad faith, undue delay, or undue prejudice to the

opposing party.”); Barnes v. United States, 204 F. App’x 918, 919 (2d Cir. 2006) (citing


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Cuoco, 222 F.3d at 112) (court should deny leave to replead even pro se plaintiff’s claims

where plaintiff “suggests no new material he wishes to add to remedy substantive

defects”).

                                    CONCLUSION

       At best, Yunhong’s six counterclaims merely restate its defenses and affirmative

defenses. They do not, however, state any actionable claim. Therefore, Benchmark

respectfully requests that this Court dismiss the Amended Counterclaim with prejudice

pursuant to Rule 12(b)(6).

Dated: October 22, 2021
       New York, New York



                                                Respectfully submitted,

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